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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:06CR16
                                                   §
 KIRK ANTHONY DUKE (6)                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on October 16, 2014, to determine whether Defendant violated his supervised

 release. Defendant was represented by Robert Arrambide. The Government was represented by

 Andrew Stover.

        On October 19, 2006, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 114 months imprisonment followed by a five-year term of

 supervised release for the offense of conspiracy to manufacture, distribute or possess with intent to

 manufacture, distribute or dispense methamphetamine. Defendant began his term of supervision on

 April 20, 2010.

        On September 25, 2014, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender Under Supervision (the “Petition”) (Dkt. 616). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use

 of a controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; and (3) Defendant shall participate

 in a program of testing and treatment for drug abuse, under the guidance and direction of the U.S.

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     Probation Office, until such time as Defendant is released from the program by the probation officer.

             The Petition alleges that Defendant committed the following violations: (1) On October 4,

     2013, Defendant submitted a urine specimen that tested positive for marijuana. On February 17, July

     10 and 21, 2014, and August 29, 2014, Defendant submitted urine specimens that tested positive for

     methamphetamine. On the aforementioned occasions, either Defendant admitted to the drug usage

     and/or the specimen was confirmed positive by Alere Laboratories, Inc.; and (2) Defendant was

     instructed to report to Pierce & Agnew, a substance abuse treatment agency located in Paris, Texas,

     for random urine collection. Defendant failed to report to Pierce & Agnew on May 16, June 30, July

     7, August 1, 6, 11, 20 and 25, and September 8, 11 and 17, 2014, as directed.

             At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                           RECOMMENDATION

             Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

.    presented at the October 16, 2014 hearing, the Court recommends that Defendant be committed to

     the custody of the Bureau of Prisons to be imprisoned for a term of nine (9) months, with no

     supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

     be carried out in the Bureau of Prisons facilities located in Fort Worth, Texas, if appropriate.

           SIGNED this 21st day of October, 2014.

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                                                    ____________________________________
                                                    DON D. BUSH
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                                                    UNITED  STATES MAGISTRATE JUDGE
